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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


SOMMER MILLER                               :          CIVIL ACTION
                                            :
                                            :
                                            :
                       v.                   :
                                            :
THE CITY OF PHILADELPHIA, et al             :          NO. 21-cv-619
                                            :
                                            :

                                       ORDER


       AND NOW this 15th day of July 2021, it is hereby ORDERED that the settlement

conference in the above-captioned matter has been rescheduled to September 7, 2021 at 10:00

a.m. All parties necessary to settle the case or delegate(s) with full authority must attend this

conference, unless excused by this court in advance.

       Instructions for video\telephonic conferencing will follow.



                                            BY THE COURT:


                                            /s/ Carol Sandra Moore Wells
                                            CAROL SANDRA MOORE WELLS
                                            UNITED STATES MAGISTRATE JUDGE
